              Case 3:17-cr-00084-W Document 1 Filed 01/10/17 PageID.1 Page 1 of 1




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 4                                        UNITED STATES DISTRICT qOURT                            tAfL.       DE,)"lU:V

 5                                     SOUTHERN DISTRICT OF CALiFORNIA

 6                                            January 2016 Grand Jury                  17CR 0084 W
 7       UNITED STATES OF AMERICA,                                  Case No.
                                                                               i
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 8                      Plaintiff,                                  !!:I'2tJTMENT
 9              v.                                                  Title 21, U.S.C., Sees. 952
                                                                                                                               j
                                                                    and 960 - Importation of
10       JUAN CARLOS MONTIEL (1),                                   Methamphetamine; Title 18, U.S.C.,
                                                      '_-1'I'
                                                                i



11       AD
         __A_N_E_R_E_Y_D_A_ARMA_~_S_-_G___AR_C_I_A__(2_}__          Sec. 2         Aiding and Abetting
     _                  Defendants.                             ,
12

13             The grand jury charges:

14             On or about November 10,                      2016,    within the Southern District of

15   California, defendants JUAN CARLOS MONTIEL and ADA NEREYDA ARMAS-GARCIA

16   did       knowingly         and      intentionally              import    a       mixture                and         substance

17   containing           a   detectable          amount       of     methamphetamine,                    a      Schedule          II
18   Controlled          Substance,          into     the     United     States           from        a       place        outside
19   thereof; in violation of Title 21, United States Code, Sections 952 and
20   960, and Title 18, United States Code, Section 2.
21             DATED: January 11, 2017.

22                                                                      A TRUE BILL:



                                                                        Fore~
23

24

25   ALANA W. ROB INSON
26

27
     By:
28
                                       Attorney
     SLP:lml:San Diego:1/9/17
